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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-01854-LTB-GPG

  TAYLOR JADE HICKERSON,

        Plaintiff,

  v.

  GREENWAY FLATS,

        Defendant.


                                          ORDER


        This matter is before the Court on the Recommendation of United States

  Magistrate Judge filed July 24, 2020 (ECF No. 12). The Recommendation states that

  any objection to the Recommendation must be filed within fourteen days after its

  service. See 28 U.S.C. § 636(b)(1)(C). The Recommendation was served on July 24,

  2020. No timely objection to the Recommendation has been filed, and Plaintiff is

  therefore barred from de novo review.

        Accordingly, it is

        ORDERED that the Recommendation of United States Magistrate (ECF No. 12)

  is accepted and adopted. It is

        FURTHER ORDERED that the Complaint (ECF No. 1) and this action be

  DISMISSED WITHOUT PREJUDICE for the reasons stated in the Recommendation. It

  is

        FURTHER ORDERED that leave to proceed in forma pauperis on appeal is

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  denied without prejudice to the filing of a motion seeking leave to proceed in forma

  pauperis on appeal in the United States Court of Appeals for the Tenth Circuit. The

  Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that any appeal from this dismissal

  would not be taken in good faith.

        DATED at Denver, Colorado, this      13th    day of August, 2020.

                                                    BY THE COURT:


                                                      s/Lewis T. Babcock_____________
                                                    LEWIS T. BABCOCK, Senior Judge
                                                    United States District Court




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